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 4                                   UNITED STATES DISTRICT COURT

 5                                 NORTHERN DISTRICT OF CALIFORNIA

 6                                            OAKLAND DIVISION

 7

 8   ICONIX INC.,                                                  Case No.      4:06-cv-02201-SBA

 9                            Plaintiff,                           ORDER GRANTING IN PART
                                                                   AND DENYING IN PART
10           v.                                                    DEFENDANTS’ MOTION TO
                                                                   DISMISS PLAINTIFF’S SECOND
11   LANCE TOKUDA, JIA SHEN, NETPICKLE,                            AMENDED COMPLAINT AND
     INC.,                                                         DENYING PLAINTIFF’S
12                                                                 OBJECTIONS TO REPLY BRIEF
                              Defendants.                          IN SUPPORT OF DEFENDANTS’
13                                                                 MOTION TO DISMISS

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16           This matter comes before the Court on Defendants Lance Tokuda, Jia Shen, and

17   netPickle, Inc.’s Motion to Dismiss Second Amended Complaint, filed on September 19, 2006,

18   and Plaintiff Iconix, Inc.’s Objections to Reply Brief in Support of Defendants’ Motion to

19   Dismiss, filed on October 18, 2006. Defendants’ Motion to Dismiss seeks dismissal of the

20   second, sixth, seventh, eighth, ninth and tenth claims for relief in Iconix’s Second Amended

21   Complaint, and also seeks to dismiss the third claim for relief against Defendants Shen and

22   netPickle only.

23           Having carefully considered the briefs of the parties and the arguments heard at the

24   hearing held on October 31, 2006, the Court issues the following orders:

25           IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss the third, sixth, seventh,

26   ninth, and tenth claims for relief pursuant to Federal Rule of Civil Procedure 12(b)(6), for failure

27   to state a claim upon which relief may be granted, is DENIED.

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     [Proposed] Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss and Denying        1
     Plaintiff’s Objections to Reply Brief
     Case No. 4:06-cv-02201-SBA
     pa- 1109414
       Case 4:06-cv-02201-SBA Document 210 Filed 11/09/06 Page 2 of 2



 1           IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss the second claim for
 2   relief pursuant to Federal Rule of Civil Procedure 12(b)(6), for failure to state a claim upon which
 3   relief may be granted, is GRANTED WITHOUT LEAVE TO AMEND.
 4           IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss the eighth claim for
 5   relief (for a constructive trust) pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to
 6   state a claim upon which relief may be granted is GRANTED without leave to amend; provided,
 7   however, that Iconix may, within 10 days of the date this Order is entered, file an amended
 8   complaint that includes any additional allegations that may be necessary to support Plaintiff’s
 9   request for a constructive trust as a remedy, rather than as an independent claim for relief.
10           IT IS HEREBY ORDERED that, pursuant to Defendants’ stipulation made in their
11   moving papers and confirmed at the hearing on October 31, 2006, Defendants’ sixth counterclaim
12   for relief (for constructive trust) be dismissed without leave to amend; provided, however, that
13   Defendants may, within 10 days of the date this Order is entered, file amended counterclaims that
14   include any additional allegations that may be necessary to support Defendants’ request for a
15   constructive trust as a remedy, rather than as an independent claim for relief.
16           IT IS HEREBY ORDERED that Plaintiff’s Objections to Reply Brief in Support of
17   Defendants’ Motion to Dismiss are DENIED.
18           IT IS SO ORDERED.
19           Dated: 11/9/06
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21                                                           SAUNDRA BROWN ARMSTRONG
                                                             United States District Judge
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     [Proposed] Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss and Denying         2
     Plaintiff’s Objections to Reply Brief
     Case No. 4:06-cv-02201-SBA
     pa- 1109414
